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 8                     IN THE UNITED STATES DISTRICT COURT

 9                   FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,             ) 2:11-CR-354 LKK
                                           )
12              Plaintiff,                 ) STIPULATION AND ORDER VACATING
                                           ) DATE, CONTINUING CASE, AND
13        v.                               ) EXCLUDING TIME
                                           )
14   EVARISTO ARREOLA VENTURA,             )
                                           ) Judge: Hon. Lawrence K. Karlton
15              Defendant.                 )
                                           )
16                                         )
                                           )
17

18                                    STIPULATION

19        The United States, by and through its undersigned counsel, and

20   defendant, by and through his counsel of record, hereby stipulate as

21   follows:

22     1. By previous order, this matter was set for a Status Hearing on

23        January 28, 2014.

24     2. By this Stipulation, the parties now move to continue the status

25        conference until March 18, 2014, at 9:15 a.m. and to exclude

26        time between January 28, 2014, and March 18, 2014, under Local

27        Codes A, N, and T4.

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 1   3. The parties and agree and stipulate, and request that the Court

 2     find the following:

 3        a. On January 14, 2014, the Court granted FCC Butner until

 4          February 20, 2014 to complete the evaluation period of

 5          Defendant Evaristo Arreola Ventura.

 6        b. The parties anticipate a competency report within 14 days

 7          of the end of the treatment period.

 8        c. The parties request that the Court continue the Status

 9          Conference until March 18, 2014, to allow the Bureau of

10          Prisons sufficient time to complete the competency

11          evaluation of the defendant and allow the parties

12          sufficient time to review the competency report before the

13          next appearance.

14        d. Based on the above-stated findings, the ends of justice

15          served by continuing the case as requested outweigh the

16          interest of the public and the defendant in a trial within

17          the original date prescribed by the Speedy Trial Act.

18        e. For the purpose of computing time under the Speedy Trial

19          Act, 18 U.S.C. § 3161, within which trial must commence,

20          the time period of January 28, 2014, to March 18, 2014,

21          inclusive, is deemed excludable pursuant to 18 U.S.C. §

22          3161(h)(7)(A), (B)(iv) [Local Code T4] because it results

23          from a continuance granted by the Court at the defendant’s

24          request on the basis of the Court’s finding that the ends

25          of justice served by taking such action outweigh the best

26          interest of the public and the defendant in a speedy trial.

27          Further, this time period is also excludable pursuant to 18

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 1             U.S.C. § 3161(h)(1)(A) [Local Code A] and 18 U.S.C. §

 2             3161(h)(4) [Local Code N].

 3     4. Nothing in this stipulation and order shall preclude a finding

 4        that other provisions of the Speedy Trial Act dictate that

 5        additional time periods are excludable from the period within

 6        which a trial must commence.

 7   IT IS SO STIPULATED.

 8

 9   DATED: January 22, 2014            /s/ Audrey B. Hemesath        _
                                      AUDREY B. HEMESATH
10                                    Assistant U.S. Attorney
11   Dated: January 22, 2014            /s/ Dina L. Santos   _
                                      DINA L. SANTOS
12                                    Attorney for Defendant
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14                                        ORDER
15        IT IS SO FOUND AND ORDERED, this 27th day of January, 2014.
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